                Case
 AO 247 (02/08) Order    4:98-cr-00106-LGW-CLR
                      Regarding Motion for Sentence Reduction   Document 746 Filed 06/02/08 Page 1 of 1

                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District of Georgia

                  United States of America                           )
                             v.                                      )
                     Rafael Dewitt Bowens                            ) Case No: CR498-00106-001
                                                                     ) USM No: 09887-021
Date of Previous Judgment: January 13, 1999                          ) William 0. Cox
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney
                                                                 AMENDED
                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of J the defendant            the Director of the Bureau of Prisons   the court under 18 U.S.0
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT 15 ORDERED that the motion is:
       0 DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 162       months is reduced to         135 months
1. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     31                                          Amended Offense Level:      29
Criminal History Category: III                                          Criminal History Category: 111
Previous Guideline Range:   135                 to 168 months           Amended Guideline Range: 108 to 135 months
11. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably     an the..
   amended guideline range.
   Other (explain)




III. ADDITIONAL COMMENTS
                                                                                                                       (
If this sentence is less than the amount of time the defendant has already served, the senten is reduced to a
'Time Served' sentence.
Except as provided above, all provisions of the judgment dated January 13, 1999,                        shall remain in effect.
IT IS SO ORDERED.

OrderDate: June 2, 2008                                                _____________________________________


                                                                        B. Avant Edenfield
                                                                        United States District Judge
Effective Date: ________________________                                For the Southern District of Georgi
                    (if different from order dale)                                            Printed name and title
